    Case 2:09-cr-00391-SSV-MBN             Document 881        Filed 08/05/15     Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA



JIMMY ISAAC                                                                   CRIMINAL ACTION

VERSUS                                                                                NO. 09-391

UNITED STATES OF AMERICA                                                          SECTION "K"



                                    ORDER AND REASONS

       Jimmy Isaac filed a Motion for Credit for Time Served (Doc. 880) in which he alleged

that the court sentence him to a concurrent sentence for which he is not being given credit. He

maintains that he has not been given credit for approximately 18 months. He argues that the

Court sentenced him to served 120 months and that the Bureau of Prisons is making him serve

18 months more than that. He asks that the Court "award the time as jail time credit" or reduce

his sentence as constituting a clerical error under Fed. R. Crim. Proc. 36.

       The Court has reviewed in detail the record and finds no merit in this motion. First,

Jimmy Isaac was sentenced on September 15, 2010, to 180 months which consisted of 120

months as to Count 1 and 60 months as to Count 2 of the Superseding Bill of Information to be

served consecutively to Count 1 of the Superseding Bill of Information. As it stands now, while

his "raw" Effective Full Term date is September 14, 2025, his present release date is slated to be

October 12, 2023. Thus, he has obviously received credit of some kind.

       Moreover, credit is not given for any time spent in non-federal pre-sentence custody prior

to the day of the statutory release date ("SRA") offense. If the release from the non-federal

sentence occurs prior to the commencement of the federal sentence, then any non-federal pre-

sentence time awarded on the state sentence is not applied to the federal sentence. As such, the
   Case 2:09-cr-00391-SSV-MBN            Document 881          Filed 08/05/15   Page 2 of 2




Court finds that the calculation as determined by the Bureau of Prisons is correct. Accordingly,

       IT IS ORDERED that the Motion for Credit for Time Served (Doc. 880) is DENIED.

       New Orleans, Louisiana, this 5th day of August, 2015.




                                                       STANWOOD R. DUVAL, JR.
                                             UNITED STATES DISTRICT COURT JUDGE
